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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 18-21841-CIV-ALTONAGA/Goodman

  THUAN VIET DOAN,

         Plaintiff,

  v.

  UNITED STATES OF AMERICA,

        Defendant.
  _______________________________/

                                               ORDER

         THIS CAUSE came before the Court on Defendant, United States of America’s Motion

  to Dismiss [ECF No. 12], filed August 3, 2018. Defendant moves to dismiss pro se Plaintiff,

  Thuan Viet Doan’s Complaint [ECF No. 1], for failure to state a claim for relief under Federal

  Rule of Civil Procedure 12(b)(6). (See generally Mot.). Plaintiff has since filed a Response

  [ECF No. 14], Defendant filed a Reply [ECF No. 22], and Plaintiff filed a Surreply [ECF No.

  28]. The Court has considered the parties’ submissions, the record, and applicable law. For the

  reasons that follow, the Motion is denied.

                                      I.       BACKGROUND

         Plaintiff is a veteran of the U.S. Air Force who served on active duty from September

  1993 through February 1994. (See Compl. ¶ 5). On May 10, 2017, Plaintiff was involuntarily

  detained at the Miami Veterans Affairs Healthcare System (“Miami VAMC”), following a

  Compensation & Pension (“C&P”) examination. (See id. ¶ 30; see also Mot. 1 (footnote call

  number omitted)).     The C&P examiner recommended that Plaintiff go to the emergency

  department, but he refused. (See Compl. ¶ 14). The C&P examiner informed Plaintiff she would
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  conduct an involuntary examination of Plaintiff under Florida’s Mental Health Act (the “Baker

  Act”), section 394.463(2)(a)(3), Florida Statutes. (See Compl. ¶¶ 15–16). Two Department of

  Veterans Affairs (“VA”) police officers then took Plaintiff into custody. (See id. ¶ 16).

         Plaintiff brings this action against Defendant under the Federal Tort Claims Act

  (“FTCA”), 28 U.S.C. sections 1346(b) & 2671–2680.            (See id. ¶ 1).   Plaintiff alleges his

  involuntary examination and confinement were unlawful because Miami VAMC personnel failed

  to comply with various provisions of the Baker Act. (See generally id.). Counts I and III state

  claims of false imprisonment by VA police officers and an emergency department physician,

  respectively. (See id.     ¶¶ 14–20; 30–32).    Count II alleges negligence by the emergency

  department physician. (See id. ¶¶ 21–29).

                                    II.    LEGAL STANDARD

         The standard governing review of a Rule 12(b)(6) motion is well established. “To

  survive a motion to dismiss [under Rule 12(b)(6)], a complaint must contain sufficient factual

  matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v.

  Iqbal, 556 U.S. 662, 678 (2009) (alteration added) (quoting Bell Atl. Corp. v. Twombly, 550 U.S.

  544, 570 (2007)).        Although this pleading standard “does not require ‘detailed factual

  allegations,’ . . . it demands more than an unadorned, the-defendant-unlawfully-harmed-me

  accusation.” Id. (alteration added) (quoting Twombly, 550 U.S. at 555). Pleadings must contain

  “more than labels and conclusions, and a formulaic recitation of the elements of a cause of action

  will not do.” Twombly, 550 U.S. at 555 (citation omitted). Indeed, “only a complaint that states

  a plausible claim for relief survives a motion to dismiss.” Iqbal, 556 U.S. at 679 (citing

  Twombly, 550 U.S. at 556).




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         To meet this “plausibility standard,” a plaintiff must “plead[] factual content that allows

  the court to draw the reasonable inference that the defendant is liable for the misconduct

  alleged.” Id. at 678 (alteration added) (citing Twombly, 550 U.S. at 556). “The mere possibility

  the defendant acted unlawfully is insufficient to survive a motion to dismiss.” Sinaltrainal v.

  Coca-Cola Co., 578 F.3d 1252, 1261 (11th Cir. 2009) (citation omitted), abrogated on other

  grounds by Mohamad v. Palestinian Auth., 566 U.S. 449 (2012).

         On a motion to dismiss, a court construes the complaint in the light most favorable to the

  plaintiff and accepts its factual allegations as true. See Brooks v. Blue Cross & Blue Shield of

  Fla., Inc., 116 F.3d 1364, 1369 (11th Cir. 1997) (citing SEC v. ESM Grp., Inc., 835 F.2d 270,

  272 (11th Cir. 1988)). Unsupported allegations and conclusions of law, however, will not

  benefit from this favorable reading. See Iqbal, 556 U.S. at 679 (“While legal conclusions can

  provide the framework of a complaint, they must be supported by factual allegations.”); see also

  Sinaltrainal, 578 F.3d at 1260 (“[U]nwarranted deductions of fact in a complaint are not

  admitted as true for the purpose of testing the sufficiency of [a] plaintiff’s allegations.”

  (alterations added; internal quotation marks omitted) (quoting Aldana v. Del Monte Fresh

  Produce, N.A., Inc., 416 F.3d 1242, 1248 (11th Cir. 2005); other citation omitted)).

         The scope of review on a motion to dismiss under Rule 12(b)(6) is limited to the four

  corners of the complaint. See Speaker v. U.S. Dep’t of Health and Human Servs. Ctrs. for

  Disease Control and Prevention, 623 F.3d 1371, 1379 (11th Cir. 2010) (citation omitted). Yet,

  the court “may consider an extrinsic document if it is (1) central to the plaintiff’s claim, and (2)

  its authenticity is not challenged.”     Id. (internal quotation marks omitted) (quoting SFM

  Holdings, Ltd. v. Banc of Am. Secs., LLC, 600 F.3d 1334, 1337 (11th Cir. 2010); other citation

  omitted).




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                                         III.   ANALYSIS

         Defendant moves to dismiss Plaintiff’s claims, arguing he has not pled sufficient facts

  establishing the unlawfulness of his involuntary confinement.             (See generally Mot.).

  Specifically, Defendant asserts Plaintiff’s confinement was properly initiated by a health care

  professional who examined Plaintiff and determined he met the criteria for involuntary

  examination. (See id.).

     A. The Baker Act

         Plaintiff’s claims all stem from the involuntary examination Defendant initiated under the

  Baker Act. (See generally Compl.; see also Mot. 1–2). Under the Baker Act, a person believed

  to have a mental illness may be involuntarily committed and examined. See Fla. Stat. §§

  394.451–394.47892. A person may be taken to a receiving facility for involuntary examination

  if there is reason to believe the person has a mental illness and, without care or treatment, the

  person poses a real and present threat of substantial harm to himself or others. See id. §

  394.463(1).

         The involuntary examination of a person may begin in any one of three ways: (1) when,

  after a circuit or county court enters an ex parte court order stating a person appears to meet the

  criteria for involuntary examination, a law enforcement officer or other designated agent of the

  court takes that person into custody; (2) when a law enforcement officer takes into custody a

  person the officer has determined appears to meet the criteria for involuntary examination; or (3)

  when a law enforcement officer takes into custody a person whom a health care professional has

  examined and determined meets the criteria for involuntary examination.                See id. §

  394.463(2)(a)(1–3).

         Defendant concedes the first two ways are inapplicable to the facts alleged in the




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  Complaint.     (See generally Mot.)        Instead, Defendant asserts Plaintiff was involuntarily

  committed in accordance with “the express legality of the third way,” i.e., by a certificate of a

  medical professional.      (Mot. 2; see also Certificate of Professional Initiating Involuntary

  Examination [ECF No. 12-1] (the “Certificate”)).1 According to Plaintiff, Defendant failed to

  comply with the requirements of the “third way,” section 394.463(2)(a)(3), because the VA

  officers who took him into custody on the basis of the Certificate were not “law enforcement

  officers” within the meaning of the Baker Act and the Miami VAMC is not a designated Baker

  Act receiving facility. (Compl. ¶¶ 8, 17; Resp. 4). Additionally, Plaintiff states Defendant failed

  to comply with a section of the Baker Act that governs procedures for the placement of veterans

  with the Department of Veterans Affairs. (See Resp. 5–6; Fla. Stat. § 394.4672). In examining

  the sufficiency of Plaintiff’s claims, the Court addresses only section 394.463(2), under which

  Plaintiff was admitted to the Miami VAMC. (See Compl. ¶ 16).

      B. False Imprisonment Claims (Counts I & III)

          Plaintiff alleges VA police officers and an emergency department physician falsely

  imprisoned him at the Miami VAMC. (See Compl. ¶¶ 14–20; 30–32). Defendant argues

  Plaintiff fails to state a claim for relief because Plaintiff does not sufficiently allege his

  confinement under the Baker Act was unlawful. (See Mot. 4).

          False imprisonment is “the unlawful restraint of a person against his will, the gist of

  which action is the unlawful detention of the plaintiff and the deprivation of his liberty.”

  Johnson v. Barnes & Noble Booksellers, Inc., 437 F.3d 1112, 1116 (11th Cir. 2006) (per curiam)

  (quoting Escambia Cty. Sch. Bd. v. Bragg, 680 So. 2d 571, 572 (Fla. 1st DCA 1996) (other

  citation omitted)). “When a law enforcement officer takes a person into custody for involuntary

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   Although it is not attached to the Complaint, the Court considers the Certificate on this Rule 12(b)(6)
  motion because its authenticity is not challenged and it is central to Plaintiff’s claims. See Speaker, 623
  F.3d at 1379.


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  examination pursuant to Section [] 394.463 [of the Baker Act], this encounter is an involuntary

  deprivation of liberty and thus must be lawful to withstand a claim for false imprisonment.”

  Whitcomb v. City of Panama City, No. 5:13-cv-30-RS-EMT, 2013 WL 6859095, at *7 (N.D. Fla.

  Dec. 30, 2013) (alterations added; citation omitted).      A false imprisonment claim “can be

  asserted based on allegations that a person was involuntarily held without compliance with the

  Baker Act.” Liles v. P.I.A. Medfield, Inc., 681 So. 2d 711, 712 (Fla. 2d DCA 1995) (citing

  Everett v. Fla. Inst. of Tech., 503 So. 2d 1382, 1382 (Fla. 5th DCA 1987)).

         i.      Count I

         The Complaint’s first false imprisonment claim is stated in Count I, where Plaintiff

  alleges the two VA police officers who took him into custody were not “law enforcement

  officers” under the Baker Act, and thus his detention constituted false imprisonment. (Compl. ¶

  17). Defendant does not argue VA police officers are in fact law enforcement officers under the

  meaning of the Baker Act. (See generally Mot.; Reply). Instead, Defendant asserts the elements

  of false imprisonment are silent regarding the status of the persons allegedly perpetrating the

  false imprisonment, and the central question is the legality of those persons’ conduct. (See Reply

  6 n.4). In response, Plaintiff insists the officers’ conduct was illegal because they were not “law

  enforcement officers” under the Act. (See Resp. 4).

         The Baker Act defines “law enforcement officer” as:

         [A]ny person who is elected, appointed, or employed full time by any
         municipality or the state or any political subdivision thereof; who is vested with
         authority to bear arms and make arrests; and whose primary responsibility is the
         prevention and detection of crime or the enforcement of the penal, criminal,
         traffic, or highway laws of the state. This definition includes all certified
         supervisory and command personnel whose duties include, in whole or in part, the
         supervision, training, guidance, and management responsibilities of full-time law
         enforcement officers, part-time law enforcement officers, or auxiliary law
         enforcement officers but does not include support personnel employed by the
         employing agency.



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  Fla. Stat. § 943.10(1) (alteration added).2 A “law enforcement officer” as defined in section

  943.10 “must be either a state or local officer,” and cannot be an “employee[] of the United

  States government.” McLaughlin v. State, 721 So. 2d 1170, 1173 (Fla. 1998) (alteration added).

           Relying on McLaughlin, former Florida Attorney General Robert Butterworth issued an

  advisory opinion stating “federal law enforcement officers do not constitute law enforcement

  officers for purposes of Florida’s Baker Act, and thus possess no authority under the act to

  initiate the involuntary examination of a person or to transport such person as law enforcement

  officers.” Fla. Att’y Gen. Op. No. 99-68 (1999). Federal VA police officers are not “person[s]

  . . . elected, appointed, or employed full time by any municipality or the state or any political

  subdivision thereof . . . .” Fla. Stat. § 943.10(1) (alterations added)). “[U]ntil and unless the

  Legislature amends the definition of ‘law enforcement officer’ for purposes of the Baker Act to

  include federal officers,” VA police officers have “no authority under the act to initiate the

  involuntary examination of a person” under the Baker Act. Fla. Att’y Gen. Op. No. 99-68

  (alteration added).

           Although the health care professional who examined Plaintiff complied with the Baker

  Act’s requirements regarding a certificate of professional (see Fla. Stat. § 394.463(2)(a)(3)),

  Defendant’s involuntary examination nevertheless failed to comply with the Baker Act because

  the VA police officers who took Plaintiff into custody were not “law enforcement officers” under

  the meaning of the Act. See McLaughlin, 721 So. 2d at 1173; see also Fla. Att’y Gen. Op. No.

  99-68.

           The lawfulness of Plaintiff’s detention is crucial to the sufficiency of a false

  imprisonment claim. See Johnson, 437 F.3d at 1116. Contrary to Defendant’s assertion, the


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   A “law enforcement officer” in the Baker Act carries the meaning of a “law enforcement officer” as
  defined in section 943.10, Florida Statutes. See Fla. Stat. § 394.455(24).


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  legal status of the persons who detained Plaintiff under the Baker Act is highly relevant to the

  lawfulness of Plaintiff’s detention, as only a law enforcement officer is permitted to involuntarily

  detain someone under the Act. See Fla. Stat. § 394.463(2)(a)(3). Because the VA police officers

  were not authorized to take Plaintiff into custody under section 394.463(2), Defendant allegedly

  did not comply with the requirements of the Baker Act. See McLaughlin, 721 So. 2d at 1173.

  Viewing the facts in the light most favorable to Plaintiff, the Court finds Plaintiff presents a

  plausible claim of false imprisonment in Count I.

         ii.     Count III

         In Count III, Plaintiff alleges the emergency department physician at the Miami VAMC

  also unlawfully detained him because the physician did not obtain either Plaintiff’s written

  informed consent or a court order as required under section 394.4672 of the Baker Act. (See

  Compl. ¶ 30; Resp. 6). Section 394.4672 of the Baker Act governs a veteran’s placement with a

  federal agency and has its own set of requirements. See Fla. Stat. § 394.4672. Defendant argues

  Plaintiff’s reliance on section 394.4672 fails because Plaintiff was not admitted to the Miami

  VAMC under section 394.4672, but rather based on the Certificate of the medical professional

  who initiated Plaintiff’s involuntary examination.        (See Reply 8; see also Fla. Stat. §

  394.463(2)(a)(3)).

         The Certificate confirms Plaintiff was subjected to an involuntary examination under the

  certification process in section 394.463(2)(a)(3), not under section 394.4672. (See Certificate).

  Therefore, the physician was not required to obtain Plaintiff’s written informed consent or a

  court order. See Fla. Stat. § 394.463(2)(a)(3)). Plaintiff nevertheless alleges the emergency

  department physician failed to comply with the requirements of section 394.463(2)(a)(3) because

  he confined Plaintiff at the Miami VAMC, which is not a designated receiving facility under the




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  Baker Act. (See Resp. 6; Compl. ¶ 8). Defendant does not address Plaintiff’s assertion (see

  Compl. ¶ 8) that the Miami VAMC is not a Baker Act receiving facility as required by section

  394.463(2)(a)(3)). (See generally id.). Instead, Defendant’s Reply for the first time raises an

  argument that designation of the Miami VAMC as a Baker Act receiving facility is not required

  because of state regulations. (See Reply 3–5). In support, Defendant attaches an Order issued by

  the Florida Department of Children and Families (“DCF”), waiving the requirement that VA

  facilities be designated as Baker Act receiving facilities. (See generally Order Granting Waiver

  Request (“Waiver”) [ECF No. 22-2]).

         The Court will not consider arguments made for the first time in a reply, see, e.g., Brown

  v. CitiMortgage, 817 F. Supp. 2d 1328, 1332 (S.D. Ala. 2011) (citations omitted), nor will the

  Court consider an extrinsic document such as the waiver when Defendant has cited to no

  authority explaining how the document is subject to judicial notice. Accordingly, the Court finds

  Plaintiff has sufficiently alleged the Miami VAMC is not a designated Baker Act receiving

  facility and, therefore, the emergency department physician did not comply with the

  requirements of section 394.463(a)(2)(3). (See Compl. ¶ 8; see also generally Resp.). Plaintiff

  thus states a plausible claim of false imprisonment in Count III.

     C. Negligence Claim (Count II)

         In Count II, Plaintiff alleges the emergency department physician at the Miami VAMC

  “committed ordinary negligence” by (1) failing to obtain either a court order or his consent prior

  to committing him to the Department of Veterans Affairs, and (2) improperly admitting him to

  the Miami VAMC, which is not a designated Baker Act receiving facility. (Compl. ¶¶ 21, 26).

  To properly plead a negligence claim, a plaintiff must allege four elements: “(1) a legal duty on

  the defendant to protect the plaintiff from particular injuries; (2) the defendant’s breach of that




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   duty; (3) the plaintiff’s injury being actually and proximately caused by the breach; and (4) the

   plaintiff suffering actual harm from the injury.” Heller v. Carnival Corp., 191 F. Supp. 3d 1352,

   1357 (S.D. Fla. 2016) (quoting Belik v. Carlson Travel Grp., Inc., 864 F. Supp. 2d 1302, 1308

   (S.D. Fla. 2011)).

          Plaintiff claims the emergency department physician violated the requirements of the

   Baker Act. (See generally Compl.; Resp. 5–6). According to Defendant, the physician did not

   have a duty to obtain a court order or Plaintiff’s consent because he initiated Plaintiff’s

   involuntary examination under the certification process in section 394.463(2)(a)(3) of the Baker

   Act. (See Mot. 6). In its Motion, Defendant argues the physician satisfied the requirements of

   section 394.463(2)(a)(3) and does not address Plaintiff’s contention the Miami VAMC is not a

   Baker Act receiving facility. (See generally id.). In his Response, Plaintiff asserts the physician

   did not comply with section 394.463(2)(a)(3) because the Miami VAMC is not a Baker Act

   receiving facility. (See Resp. 5).

          As previously stated, the Court will not consider Defendant’s argument (raised for the

   first time in its Reply) regarding designation of Baker Act facilities, nor will the Court consider

   an extrinsic document regarding DCF’s waiver of VA facility designations. (See supra section

   III(b)(ii)). Plaintiff alleges the Miami VAMC is not a designated Baker Act receiving facility

   and, therefore, the emergency department physician did not comply with the requirements of

   section 394.463(a)(2)(3). Florida law provides a statutory violation can serve as “prima facie

   evidence of negligence.” deJesus v. Seaboard Coast Line R.R. Co., 281 So. 2d 198, 200–01 (Fla.

   1973). While the Complaint does not specifically plead each of the elements of negligence, it

   sufficiently alleges Defendant violated the Baker Act. (See generally Compl.) Accordingly, the

   Court finds Plaintiff states a plausible claim of negligence in Count II.




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                                          IV.   CONCLUSION

         For the foregoing reasons, it is

         ORDERED AND ADJUDGED that Defendant, United States of America’s Motion to

   Dismiss [ECF No. 12] is DENIED.

         DONE AND ORDERED in Miami, Florida, this 12th day of October, 2018.



                                                       _________________________________
                                                       CECILIA M. ALTONAGA
                                                       UNITED STATES DISTRICT JUDGE

   cc:   counsel of record; Plaintiff, pro se




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